Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.48 Filed 05/04/20 Page 1 of 13




                     UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF MICHIGAN


DISPLAY TECHNOLOGIES, LLC,                   Case No. 2:20-cv-10392-SJM-MJH

      Plaintiff,                             District Judge Stephen J. Murphy, III
v.
                                             Magistrate Judge Michael J. Hluchaniuk
ALPINE ELECTRONICS OF
AMERICA, INC.,                               Demand for Jury Trial

     Defendant.
________________________________/


            ANSWER TO COMPLAINT, COUNTERCLAIM AND
                    DEMAND FOR JURY TRIAL

      Defendant Alpine Electronics of America, Inc. (“Alpine”) hereby sets forth

its Answer, Defenses, and Counterclaim in response to the Complaint of Plaintiff

Display Technologies, LLC (“Plaintiff” or “Display”). Each of the numbered

paragraphs below in Alpine’s Answer corresponds to the same-numbered

paragraphs in Display’s Complaint. Alpine denies all allegations contained in the

Complaint that are not specifically admitted below. Alpine further denies that

Display is entitled to the relief requested or any other relief. In addition, Alpine

denies any allegations that may be implied by or inferred from the headings

contained in the Complaint.



                                         1
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.49 Filed 05/04/20 Page 2 of 13




                                    ANSWER

      1.     Alpine admits that the Complaint purports to assert an action for

patent infringement arising under Title 35 of the United States Code. Alpine

denies any and all remaining allegations in Paragraph 1 of the Complaint.

      2.     Alpine admits that this Court has subject matter jurisdiction over this

action. Alpine denies any and all remaining allegations in Paragraph 2 of the

Complaint.

      3.     Alpine is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 3 of the Complaint, and therefore

denies those allegations.

      4.     Alpine admits the allegations in Paragraph 4 of the Complaint.

      5.     For purposes of this action, and this action only, Alpine does not

dispute that this Court has personal jurisdiction over Alpine. Alpine denies any

and all remaining allegations in Paragraph 5 of the Complaint.

      6.     Alpine admits that the CDE-175BT is offered for sale and sold in this

District. Alpine denies any and all remaining allegations in Paragraph 6 of the

Complaint.

      7.     Alpine admits that venue is proper in this District. Alpine denies any

and all remaining allegations in Paragraph 7 of the Complaint.




                                         2
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.50 Filed 05/04/20 Page 3 of 13




      8.     In response to Paragraph 8 of the Complaint, Alpine repeats and

incorporates by reference its responses in Paragraphs 1-7 above, as if fully set forth

herein.

      9.     Alpine admits that Display purports to assert a cause of action arising

under the patent laws of the United States. Alpine denies any and all remaining

allegations in Paragraph 9 of the Complaint.

      10.    Alpine is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 10 of the Complaint and, therefore,

denies those allegations.

      11.    Alpine admits that Exhibit A to the Complaint purports to be a copy

of United States Patent No. 9,300,723, entitled “Enabling Social Interactive

Wireless Communications.” Alpine denies any and all remaining allegations in

Paragraph 11 of the Complaint.

      12.    Alpine denies the allegations in Paragraph 12 of the Complaint.

      13.    Alpine denies the allegations in Paragraph 13 of the Complaint.

      14.    Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 14 of the Complaint depict and describe

certain aspects of the CDE-175BT.          Alpine denies any and all remaining

allegations in Paragraph 14.



                                          3
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.51 Filed 05/04/20 Page 4 of 13




      15.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices.    Alpine admits that the images and/or screenshots included in

Paragraph 15 of the Complaint depict and describe certain aspects of the CDE-

175BT. Alpine denies any and all remaining allegations in Paragraph 15.

      16.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 16 of the Complaint depict and describe

certain aspects of the CDE-175BT.        Alpine denies any and all remaining

allegations in Paragraph 16.

      17.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 17 of the Complaint depict and describe

certain aspects of the CDE-175BT.        Alpine denies any and all remaining

allegations in Paragraph 17.

      18.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the image

and/or screenshot included in Paragraph 18 of the Complaint describes certain

aspects of the CDE-175BT. Alpine denies any and all remaining allegations in

Paragraph 18.




                                       4
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.52 Filed 05/04/20 Page 5 of 13




      19.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the image

and/or screenshot included in Paragraph 19 of the Complaint describes certain

aspects of the CDE-175BT. Alpine denies any and all remaining allegations in

Paragraph 19.

      20.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 20 of the Complaint depict and describe

certain aspects of the CDE-175BT.        Alpine denies any and all remaining

allegations in Paragraph 20.

      21.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 21 of the Complaint depict and describe

certain aspects of the CDE-175BT.        Alpine denies any and all remaining

allegations in Paragraph 21.

      22.   Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 22 of the Complaint depict and describe

certain aspects of the CDE-175BT.        Alpine denies any and all remaining

allegations in Paragraph 22.



                                       5
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.53 Filed 05/04/20 Page 6 of 13




      23.    Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine denies any and all

remaining allegations in Paragraph 23 of the Complaint.

      24.    Alpine admits that the CDE-175BT may be connected to Bluetooth

devices to deliver playback of various music files. Alpine admits that the images

and/or screenshots included in Paragraph 24 of the Complaint depict and describe

certain aspects of the CDE-175BT.         Alpine denies any and all remaining

allegations in Paragraph 24.

      25.    Alpine is without knowledge or information sufficient to form a belief

as to the truth of the allegations in Paragraph 25 of the Complaint and, therefore,

denies those allegations.

      26.    Alpine denies the allegations in Paragraph 26 of the Complaint.

      27.    Alpine denies the allegations in Paragraph 27 of the Complaint.

                                   DEFENSES

      Alpine asserts the following Defenses, without assuming the burden of proof

for any defense. Headings are included for convenience only and do not limit

Alpine’s defenses. Alpine expressly reserves the right to allege additional defenses

during the course of discovery.




                                         6
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.54 Filed 05/04/20 Page 7 of 13




                                 FIRST DEFENSE

                                 (Noninfringement)

      Alpine does not infringe, directly or indirectly, any valid and enforceable

claim of the ’723 Patent, either literally or under the doctrine of equivalents. As a

non-limiting example, the accused CDE-175BT product does not have a

“communication link initiated by said media system,” as recited in all claims of the

’723 Patent, either literally or under the doctrine of equivalents.

                                SECOND DEFENSE

                                     (Invalidity)

      The asserted claims of the ’723 Patent, including asserted Claim 12, are

invalid for failure to comply with one or more of the conditions set forth in Title 35

of the United State Code, including, without limitation, the requirements of 35

U.S.C. §§ 100, 101, 102, 103 and/or 112, or other judicially-created bases for

invalidity or unenforceability. As a non-limiting example, asserted Claim 12 of the

’723 Patent is invalid as anticipated and/or obvious under 35 U.S.C. §§ 102 and

103 in view of at least WO2006/027725 to Vauclair.

                                 THIRD DEFENSE

                          (Prosecution History Estoppel)

      Display’s claims are barred in whole or in part by the doctrines of

prosecution history estoppel and/or prosecution disclaimer due to admissions,



                                           7
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.55 Filed 05/04/20 Page 8 of 13




amendments, arguments, and/or other representations made to the United States

Patent and Trademark Office during the prosecution of the applications leading to

the issuance of, or related to, the ’723 Patent.

                                FOURTH DEFENSE

                        (Unavailability of Injunctive Relief)

      Display is not entitled to injunctive relief, as a matter of law, and cannot

satisfy the requirements necessary to obtain injunctive relief in any form.

                                 FIFTH DEFENSE

                        (Limitation on Damages and Costs)

      Upon information and belief, Display’s claim for damages is barred, in

whole or in part, by 35 U.S.C. §§ 286 or 287. To the extent any claim of the ’723

Patent is invalid, Display is barred from recovering costs by 35 U.S.C. § 288.

                                 COUNTERCLAIM

      Defendant Alpine Electronics of America, Inc. (“Alpine”), for its

Counterclaim against Plaintiff Display Technologies, LLC (“Display”), alleges as

follows:

                                   THE PARTIES

      1.     Alpine is a corporation organized and existing under the laws of the

State of California, with its principal place of business in Auburn Hills, Michigan.

      2.     Upon information and belief, and based on Display’s allegations in its



                                           8
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.56 Filed 05/04/20 Page 9 of 13




Complaint, Display is a limited liability company organized and existing under the

laws of the State of Texas, with its principal place of business located at 1801 NE

123rd Street, Suite 314, North Miami, Florida 33161.

                        JURISDICTION AND VENUE

       3.   This Counterclaim for declaratory relief arises under the Declaratory

Judgment Act, 28 U.S.C. §§ 2201 and 2202.

       4.   This Court has subject matter jurisdiction over this Counterclaim

pursuant to 28 U.S.C. §§ 1331 and 1338.

       5.   Display has consented to the personal jurisdiction of this Court by

filing its Complaint and commencing its action for patent infringement in this

District.

       6.   Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) and

1400(b).

                         NATURE OF THE ACTION

       7.   This is an action based upon an actual controversy between the parties

concerning the alleged infringement, validity, and enforceability of United States

Patent No. 9,300,723 (“the ’723 Patent”).

       8.   Display’s Complaint in this action asserts that it is the owner of the

’723 Patent, and that the ’723 Patent is valid, enforceable, and infringed by

Alpine.



                                          9
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.57 Filed 05/04/20 Page 10 of 13




      9.       Alpine denies that it infringes any valid and enforceable claim of the

’723 Patent.

      10.      Alpine has further asserted that the ’723 Patent is invalid for failing to

satisfy one or more of the requirements for patentability of Title 35 of the United

States Code, including 35 U.S.C. §§ 100, 101, 102, 103 and/or 112, or other

judicially-created bases for invalidity or unenforceability.

      11.      In view of the foregoing, there is an actual controversy between

Alpine and Display with respect to the alleged infringement, validity, and

enforceability of the ’723 P atent.

                                       COUNT I

    DECLARATION OF NON-INFRINGEMENT OF THE ’723 PATENT

      12.      Alpine restates, realleges, and incorporates by reference the

allegations in Paragraphs 1-11 above as though fully set forth herein.

      13.      Display alleges that Alpine infringes one or more claims of the

’723 Patent through the sale of the CDE-175BT.

      14.      Alpine denies that it has infringed any valid and enforceable claim of

the ’723 Patent.

      15.      As a non-limiting example, Alpine’s CDE-175BT product does not

have a “communication link initiated by said media system” as recited in all claims

of the ’723 Patent, either literally or under the doctrine of equivalents.



                                           10
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.58 Filed 05/04/20 Page 11 of 13




      16.      An actual controversy exists between Alpine and Display over the

alleged infringement of the ’723 Patent.

      17.      Alpine is entitled to a declaratory judgment that has not infringed the

’723 Patent.

                                      COUNT II

            DECLARATION OF INVALIDITY OF THE ’723 PATENT

      18.      Alpine restates, realleges, and incorporates by reference the

allegations in Paragraphs 1-17 above as though fully set forth herein.

      19.      The claims of the ’723 Patent, including asserted Claim 12, are invalid

for failure to satisfy one or more of the provisions of Title 35 of the United States

Code, including 35 U.S.C. §§ 100, 101, 102, 103 and/or 112, or other judicially-

created bases for invalidity or unenforceability.

      20.      As a non-limiting example, asserted Claim 12 of the ’723 Patent is

invalid as anticipated and/or obvious under 35 U.S.C. §§ 102 and 103 in view of at

least WO2006/027725 to Vauclair.

      21.      An actual controversy exists between Alpine and Display over the

invalidity of the ’723 Patent.

      22.      Accordingly, Alpine is entitled to a declaratory judgment that the

claims of the ’723 Patent are invalid.




                                           11
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.59 Filed 05/04/20 Page 12 of 13




                              PRAYER FOR RELIEF

      WHEREFORE, Alpine requests the following relief:

      A.     That this Court enter judgment against Display and in favor of Alpine

on all of the claims set forth in Display’s Complaint, that all such claims against

Alpine be dismissed with prejudice, and that all relief requested by Display be

denied;

      B.     That this Court enter judgment that Alpine has not infringed, directly

or indirectly, any valid and enforceable claim of the ’723 Patent, either literally or

under the doctrine of equivalents;

      C.     That this Court enter judgment that the asserted claims of the ’723

Patent are invalid;

      D.     That this Court declare this to be an exceptional case within the

meaning of 35 U.S.C. § 285 and award Alpine its costs and expenses, including

reasonable attorneys’ fees; and

      E.     That this Court grant Alpine such other and further relief as the Court

deems just and proper.

                              DEMAND FOR JURY TRIAL

      Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Alpine

hereby demands a trial by jury as to all triable issues so triable.




                                           12
Case 2:20-cv-10392-SJM-MJH ECF No. 10, PageID.60 Filed 05/04/20 Page 13 of 13




                                     By: /s/ I. W. Winsten
                                     I. W. Winsten (P30528)
                                     HONIGMAN LLP
                                     2290 First National Building
                                     660 Woodward Avenue
                                     Detroit, MI 48226-3506
                                     (313) 465-7608
                                     iww@honigman.com

                                     Craig S. Summers
                                     KNOBBE, MARTENS, OLSON & BEAR, LLP
                                     2040 Main St., 14th Floor
                                     Irvine, CA 92614
                                     (949) 760-0404
                                     Craig.summers@knobbe.com

                                     Attorneys for Defendant
                                     ALPINE ELECTRONICS OF
                                     AMERICA, INC.




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                                     13
